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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,                            Case No. 24-mj-30087
                                                    Hon. Matthew F. Leitman
v.

XAVIER COHENS,

          Defendant.
__________________________________________________________________/

      ORDER DENYING GOVERNMENT’S APPEAL OF MAGISTRATE
        JUDGE’S ORDER OF RELEASE AND AFFIRMING ORDER

        Following a detention hearing, on April 11, 2024, Magistrate Judge Anthony

Patti ordered Defendant Xavier Cohens released on bond pending trial. (See ECF

No. 14.) Magistrate Judge Patti imposed a number of conditions on Cohens’ release.

(See ECF No. 13.) The Government subsequently filed an appeal in which it asked

this Court to vacate the order of release and to detain Cohens pending trial. (See ECF

No. 16.) The Court held a hearing on the Government’s appeal on April 16, 2024.

For the reasons stated on the record during the hearing, the Government’s appeal is

DENIED, and the order of release with conditions is AFFIRMED.

        IT IS SO ORDERED.

                                       s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE
Dated: April 16, 2024
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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on April 16, 2024, by electronic means and/or ordinary
mail.

                                     s/Holly A. Ryan
                                     Case Manager
                                     (313) 234-5126
